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1    McGREGOR W. SCOTT
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     JASON HITT
3    Assistant U.S. Attorneys
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4    Sacramento, CA 95814
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7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) Case No. CR-S-99-433-WBS
                                     )
12                  Plaintiff,       )
               v.                    ) STIPULATION AND [PROPOSED] ORDER
13                                   ) RESETTING BRIEFING SCHEDULE ON
     JOHN THAT LUONG, et al.,        ) DEFENDANT JOHN LUONG’S MOTION TO
14                                   ) RECONSIDER
                    Defendants.      )
15
     _______________________________ )
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason Hitt, Assistant United
20   States Attorneys; defendant John That Luong, through his counsel,
21   Richard Mazer, Esq., stipulate and agree to the following revised
22   motion schedule on defendant John Luong’s pending motion to
23   reconsider and exclusion of time under the Speedy Trial Act:
24
          1.   Defendants’ reply, if any, to be filed by February 20,
25             2007; and
26        2.   Hearing on the motion: March 12, 2007, at 9:30 a.m.
27        Counsel for the defendant needs additional time to research and
28   prepare its response to the government’s opposition.          Accordingly,

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1    the parties stipulate that time be excluded for the pendency of
2    these motions pursuant to 18 U.S.C. § 3161(h)(1)(F) - delay
3    resulting from any pretrial motion and 18 U.S.C. § 3161(h)(8)(B)(ii)
4    - additional time to adequately prepare for pretrial proceedings.
5
6                                             Respectfully submitted,
7                                             McGREGOR W. SCOTT
                                              United States Attorney
8
9
     DATED: February 2, 2007            By:/s/ Jason Hitt
10                                         JASON HITT
                                           Assistant U.S. Attorney
11
12
     DATED: February 2, 2007            By: /s/ Richard Mazer
13                                          RICHARD MAZER for defendant
                                            John That Luong
14                                          Telephonically authorized to
                                            sign for Mr. Mazer on 12/05/06
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1    ___________________________________________________________________
                                     ORDER
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          For the reasons set forth above, the revised law and motion
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     schedule is adopted.   Furthermore, time is excluded for the reasons
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     set forth above.
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     DATED: February 5, 2007
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